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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF DELAWARE


 ALICIA A. COHEN,

                           Plaintiff,
                                                          C.A. No. _________________________
         v.
                                                          JURY TRIAL DEMANDED
 RONALD A. COHEN, a/k/a Rafi Cohen, Rafael
 Cohen, Rafa-El Cohen, Rafael Chaim Ha Cohen,
 Rafael Chaim Cohen, Ron Cohen, and Ronnie
 Cohen,

                           Defendant.


      COMPLAINT FOR CHILD SEXUAL ABUSE AND HUMAN TRAFFICKING

        Plaintiff Alicia A. Cohen files this complaint for child sexual abuse and human trafficking

against Ronald A. Cohen, and in support thereof alleges as follows:

                                         INTRODUCTION

        1.      When Plaintiff was 3–5 years old, Defendant began sexually abusing her, selling

her to others for commercial sex, filming acts of child rape, and selling the pornographic tapes.

Defendant claims to be a minister, and used various ministries as covers for his child sex trafficking

ring. He had several accomplices, many of whom also claimed to be ministers. Other children were

victims in addition to Plaintiff. The direct sexual trafficking of Plaintiff continued until she was 11

years old. Defendant continued thereafter to threaten Plaintiff should she report his crimes. Upon

information and belief, the sex trafficking ring continued with other victims, and Defendant

continued selling tapes containing child pornography. Defendant’s activities constitute child

sexual abuse in violation of the laws of several states, and human trafficking in violation of federal

and state laws. Defendant’s abuse and trafficking resulted in extreme emotional and physical harm

to Plaintiff and others.
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                        THE PARTIES, JURISDICTION, AND VENUE

       2.      Plaintiff Alicia A. Cohen is a resident of the State of Delaware.

       3.      Defendant Ronald A. Cohen is a resident of North Carolina, with a last known

address in Leland, North Carolina. At the time of most of the direct abuse and sex trafficking,

Defendant was a resident of the State of Delaware. He also goes, or has gone, by the following

names: Rafi, Rafael, Rafa-El, Rafael Chaim Ha Cohen, Rafael Chaim Cohen, Ron, and Ronnie.

       4.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 because the

principal claims arise under the laws of the United States: 18 U.S.C. §§ 2255; 1589–91; 2241(c);

2251–52A; and 2421–23. The Court has supplemental jurisdiction over the state law claims by

virtue of 28 U.S.C. § 1367, because the state law claims are so related to the federal law claims

that they form part of the same case or controversy.

       5.      Alternatively, this Court has subject matter jurisdiction pursuant to 28 U.S.C. §

1332 because the parties are citizens of different states, and the amount in controversy, exclusive

of interest and costs, exceeds $75,000.

       6.      This Court has personal jurisdiction over Defendant under 10 Del. C. § 3104(c)(3)

because Defendant committed tortious acts and/or omissions in this State and the causes of action

enumerated herein arose in substantial part therefrom. The exercise of personal jurisdiction by this

Court over Defendant is consistent with the United States Constitution because Defendant, by

virtue of his acts and omissions within the State, has had sufficient minimum contacts with the

State such that he could reasonably expect to be haled into court in this State. The exercise of

jurisdiction will not offend traditional notions of fair play and substantial justice.

       7.      Venue is proper in this district under 28 U.S.C. § 1391(b) and/or (c) because a

substantial part of the events or omissions giving rise to the claims herein occurred in this District,

and Defendant is subject to personal jurisdiction in this State.


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                             BACKGROUND OF THE DISPUTE

                  Early Sexual Abuse and Commercial Sexual Exploitation

        8.     Defendant Ronald Cohen began sexually abusing Plaintiff, his daughter, in

approximately 1983—when she was about three years old. The first sexual abuse occurred at the

family home in Newark, Delaware. Defendant forced Plaintiff to orally and/or manually stimulate

him sexually. This sometimes resulted in Plaintiff being choked or suffocated.

        9.     In the summer of 1985, when the family was living temporarily in Oklahoma,

Defendant began to sell and traffic Plaintiff. Defendant and his then-wife (Plaintiff’s mother) took

a one-week trip to Canada and left Plaintiff and her brother with some family friends, Jose and

Maria G.1 Early in the week, Jose G. informed Plaintiff that he had “purchased her virginity” from

Defendant for $2,500.

        10.    The daughter of Jose and Maria G. informed Plaintiff that it was her “turn” now.

Jose G. repeatedly raped Plaintiff during that week and filmed numerous acts of sexual abuse. This

had the blessing of, and was arranged and facilitated by, Defendant. Jose G. also sexually abused

his daughter, and he forced the children to be “sexual” together.

        11.    After being raped, Plaintiff was so sore she could not go to the bathroom. The

bathroom had floral wallpaper but because she was in such pain, the flowers looked wavy like

insects crawling up the walls.

        12.    Jose G. paddled Plaintiff with a large wooden paddle and threatened her that if she

was not “good,” he would take her away to Mexico. He also told her he would kill her mother if

Plaintiff told her about the movies they had made together. Maria and Jose G. said that Plaintiff’s

younger brother would “avoid pain” if Plaintiff was good. The paddle that Jose G. had used on


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  Defendant knows the full name, which will be provided to the Court, if required, at an appropriate
time.


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Plaintiff ended up in the kitchen in the Cohen family home. Defendant displayed it to Plaintiff on

top of the kitchen cabinets as a reminder of the threats.

       13.     Soon after Defendant and his then-wife returned from Canada, Defendant took the

family to a restaurant and sat in a booth with the G. family. Plaintiff was still physically so sore

that it was difficult to sit. When the mothers and younger children went to the bathroom, Jose

asked Defendant, in Plaintiff’s presence, if she had “told.” Defendant said no, patted Plaintiff on

the head, and said she was a good girl. Jose G. gave Defendant an envelope that appeared to contain

VHS tapes.

       14.     Shortly after the week when Plaintiff was abused and raped, the G. family moved

away in the middle of night with no explanation.

               Child Sexual Abuse and Trafficking in Delaware at the Family Home, at
             “Prayer Meetings,” and at “Board Meetings;” the Making and Sale of Tapes

       15.     In the fall of 1985, Defendant and the family returned to Delaware (44 Vansant Rd.

Newark, DE), where the majority of the sexual abuse and commercial sexual exploitation occurred

over the next six years. Defendant molested or exploited Plaintiff for commercial sexual purposes

at least weekly. This included raping Plaintiff and forcing her to perform oral sex on Defendant.

Defendant also sodomized Plaintiff, which he called a “number 2 spanking.” Defendant filmed sex

acts between himself and Plaintiff, other adults, and other children around Plaintiff’s own age.

This child sexual abuse and exploitation took place at the family home, homes of friends, and the

offices of Defendant and/or his business or ministry partners.

       16.     Defendant set up a video camera and a staged bedroom in the basement of the

family home, where some of the sex acts were performed and filmed. Plaintiff was sometimes

drugged and placed in a room where men would enter and perform sex acts on her. Sometimes it

was only one man, sometimes it was more than one. On at least one occasion, Plaintiff was brought



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to a pedophile party at a warehouse.

        17.    Sometime between 1985 and 1987, Defendant purchased a VHS duplication

machine and began duplicating the videos of child sexual abuse. Defendant took Plaintiff with him

to the Newark (Delaware) Post Office to mail the material. He would sexually assault her in the

parking lot of the library across the street immediately following the trips to the post office.

Defendant told Plaintiff’s mother that the videos were of him preaching. The names of these videos

were “God Wants You Well,” “A Yogi Meets the Messiah,” and “Freedom From Your Past.” The

videos he sent through the mail contained Defendant’s preaching, sexually explicit material, or

both.

        18.    Defendant hosted weekly prayer meetings at the family home from around 1989 to

1991. Plaintiff was asked to come down in her nightgown into these prayers meetings like she

was being “presented.” She was usually given 2–3 capfuls of Benadryl—much higher than the

recommended dose for a child. Plaintiff was terrified of falling asleep and terrified of the prayer

meetings. After at least one meeting Plaintiff was placed in her parents’ bed, which was a

waterbed. Defendant came into the room with two men, who gave Defendant cash. He told the

men he would stand outside the door. The men raped Plaintiff. Plaintiff was sold for commercial

sex on a weekly basis by Defendant in this time period.

        19.    Men posing as travelling ministers would stay at the family home and purchase

commercial sex with Plaintiff from Defendant. Defendant also took Plaintiff out of the house in

the middle of the night to be sold at “board meetings” at Defendant’s office. This occurred in a

building on Chapel Street in Newark, Delaware, off Main Street. Plaintiff was also sold at




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“meetings” at the office of one of Defendant’s board members, S.R. 2 The “meetings” at S.R.’s

office may have been board meetings, prayer meetings, or just meetings of men. Defendant would

take Plaintiff out of the house at night after the rest of the family was asleep. He made her lie on

the floor of his red Pontiac car. During the meetings at S.R.’s office or Defendant’s office, Plaintiff

would be placed in a small room and men would come into the room to sexually assault her. S.R.

bought her from Defendant and engaged in sex with her. S.R. and Defendant continued to work

together for many years.

        20.    Plaintiff remembers Defendant and a man named Jeff having sex with her at the

same time. Jeff had short blond hair and was shorter than Plaintiff’s mother, so he was about 5’5”

tall. Jeff claimed to be a travelling minister and stayed overnight. Plaintiff was gang raped by Jeff

and Defendant that night. After this happened, Defendant sat on the floor, by Plaintiff’s bed, crying

and making threats to Plaintiff. He said if she told anyone she would end up in foster care or a

homeless shelter and that he would be put in jail. He said that Plaintiff’s mother would have a

mental breakdown. He again insisted that Plaintiff not tell anyone what was happening. The next

morning, Jeff was at the family breakfast table and Plaintiff did not want to be anywhere near him

so she hugged the wall. This happened in Newark, Delaware.

        21.    Defendant raped or sexually abused Plaintiff in the video store, behind the puppet

stand in church, at the movie theatre, and at the basketball courts.

        22.    Dr. E.3 was the family’s dentist in Delaware. He purchased sex with Plaintiff, from

Defendant, in exchange for dental care. Plaintiff remembers Defendant negotiating with Dr. E. for




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  Defendant knows the full name, which will be provided to the Court, if required, at an appropriate
time.
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commercial sex and Dr. E. climbing on top of her. This happened in Wilmington, Delaware in Dr.

E.’s office.

          23.   In addition to other child victims noted previously, Defendant brought other

children into the family home to be sexually abused and exploited.

                             Further Trafficking Across State Lines

          24.   As noted previously, Defendant made sexually explicit tapes of child rape involving

Plaintiff and sold the tapes across state lines. He invited “travelling ministers” and others to cross

state lines to have sex with Plaintiff in Delaware. Additional acts of sexual abuse and trafficking

across state lines are detailed below.

          25.   When Plaintiff was about seven years old, Defendant took the family to Orlando,

Florida. Defendant stated that this was in order to visit his “cousin”—a man named “Lawrence.”

Plaintiff remembers being taken to a very opulent house with dark red velvet curtains, red velvet

couches, pillar beds with velvet duvet covers, gold wall paper, and an indoor-outdoor pool with a

marble fountain. Plaintiff was told that Lawrence made his money smuggling diamonds from

Africa.

          26.   The first night in Orlando, Plaintiff was drugged with Benadryl and fell asleep.

When she woke up, Lawrence was filming. Defendant and another man raped Plaintiff while

Lawrence filmed.

          27.   The second night in Orlando, Plaintiff was again drugged with Benadryl. She was

awakened in the middle of the night by Defendant, who told her they were going to get a

McDonald’s hamburger. Plaintiff had to get in the car with Lawrence and the other man, who were

in the front seats, while Defendant and Plaintiff were in the back. Instead of going to McDonald’s,

Plaintiff was taken to a warehouse that was smoky. There were lots of tables, and cardboard boxes

of VHS tapes on the tables. Plaintiff was very scared. She saw people dancing in cages and heard


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loud music. Plaintiff was put into a small room or closet. Her legs were shackled open with chains,

like ankle cuffs. There were two lights—one on each side of Plaintiff. Men came in and out of the

room, having sex with her, until she passed out. When she woke up the next morning, she was

back at Lawrence’s house.

        28.    Michael and Cindy S.4 were part of Defendant’s “Bus Group.” They lived in

Newark, New Jersey and Defendant took his family to visit them once or twice a year from about

1985 to 1987. The S. family had two children about Plaintiff’s age. They were close family friends.

Because their parents were close, Plaintiff played with the S. children often as a child. This was

until Plaintiff was about 12 years old, when Michael and Cindy S. divorced and moved away.

        29.    Michael S., by arrangement with Defendant, filmed Plaintiff while Defendant raped

her. Plaintiff remembers being raped on the kitchen table while the camera was held low nearby.

Plaintiff was crying and screaming. Michael S. yelled at her to “shut up you f***ing little c**t”

because she was “ruining the f***ing shot.” The rapes left Plaintiff in pain. That same day, Plaintiff

was taken to another room to sleep but heard the S.’s daughter screaming—what had happened to

Plaintiff was also happening to her. This was in Newark, New Jersey.

        30.    Plaintiff remembers another time being filmed in the basement of the S. family’s

home in Newark, New Jersey. She was heavily drugged with Benadryl and woke up thinking “it’s

happening again.” She was forced to perform oral sex on a girl while she was sleeping in a beanbag

chair. The girl had blonde hair, and a beanbag chair was in the basement of the home Michael and

Cindy S., so Plaintiff believes this girl was likely the S. family’s daughter. She also remembers

being forced to perform oral sex on a boy in that same basement, and being made to lie down on




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  Defendant knows the full name, which will be provided to the Court, if required, at an appropriate
time.


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the bean bag chair while being sexually assaulted by an adult male.

         31.    Plaintiff was extremely afraid of Michael S. One time, he placed a silver gun to her

head.

                 Additional Threats to Plaintiff and Efforts to Hide the Abuse

         32.    Plaintiff has been threatened repeatedly by Defendant and his accomplices. As

described previously, Jose G. threatened to harm Plaintiff and her brother and mother, and to have

Plaintiff taken to Mexico, or put in foster care. The large paddle used by Jose G. was displayed by

Defendant as a threat. Additional threats and acts of physical and emotional coercion are detailed

below.

         33.    After acts of sexual abuse and molestation, Defendant would firmly tell Plaintiff:

“Remember, Alicia, I never touched you.”

         34.    Defendant killed Plaintiff’s new puppy in front of her to make sure she understood

that she could not tell anyone what was happening. He lied to Plaintiff’s mother about what

happened to the puppy. The dog’s name was “Freckles” and he was a cocker spaniel. This act was

intended to, and did, inflict mental torture on Plaintiff.

         35.    In 1989, Plaintiff was taken to a therapist because Plaintiff had been unable to sleep

at night and was having angry outbursts, phobias, and panic attacks (all of these were consequences

of the abuse and trauma that Plaintiff was undergoing on a daily basis). Defendant insisted on

being present during every session. Defendant would sexually assault Plaintiff prior to these

sessions for punishment and to insist on secrecy. Plaintiff did not say anything in these sessions

because she was too afraid. The therapist concluded that Plaintiff and Defendant were not spending

enough time together. This became an excuse for Defendant to take Plaintiff away from home even

more often. For example, he took her to a Christian father-daughter camp where he raped her




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multiple times per day. He told her that he had the power to abuse any of the other children anytime

he wanted to.

       36.      At one point, in order to avoid discovery, Defendant took his children out of school

and had them “home schooled.” This gave him greater access to them. It also isolated them from

friends and community.

       37.      Over the years, Defendant has continued to threaten Plaintiff and intimidate her into

silence. His common refrain is: “Remember, Alicia, I never touched you.”

       38.      When, as an adult, Plaintiff began to remember acts of abuse that had been

suppressed in her memory, she confronted Defendant over the phone. His response was that

Plaintiff was possessed by demons. He purported to “rebuke the demons out of [her].” He ended

the conversation by saying in a calm, methodical voice: “Remember, Alicia, I never touched you.”

Then he hung up the phone. This triggered memories of him saying this after every sexual assault,

molestation, and sex trafficking incident.

       39.      As a result of being abused, threatened, mentally tortured, traumatized, and

coerced, Plaintiff could not and did not reveal the abuse to teachers, therapists, doctors, or any

other people while the abuse was occurring and for many years thereafter. Plaintiff was too scared

to talk and did not have the words to explain what was happening. Plaintiff, out of fear, repressed

her thoughts and memories of what had happened.

                     Laundering the Money and Using Ministry as Cover

       40.      As described above, Defendant claims to be—and at all pertinent times claimed to

be—a religious minister. He sometimes used the titles “Reverend” or “Rev.” He created and

operated several endeavors posing as “ministries,” including: Miracle Tabernacle Ministries,

Messianic Tabernacle Ministries International, Travelling Ministers Fellowship, TMF Ministries,




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Yahweh Center, Ronald Cohen Ministries, The Aaliyah Project, and Wilmington Aaliyah.

Defendant operates numerous websites that pose as ministries.

       41.      Defendant used his religious façade, and his “ministries,” as a cover for conducting

child sexual abuse and child sex trafficking. Some examples have been cited previously: under the

cover of “Travelling Ministers Fellowship,” men would travel to the Cohen home to exploit

Plaintiff and other children for money; explicit scenes of child sexual abuse were hidden within

videotapes of Defendant preaching; and Plaintiff would be brought to ministry “board meetings”

to be raped.

       42.      When Plaintiff was approximately nine years old, two Kenyan men slept over at

the Cohen family home (44 Van Sant Road, Newark, Delaware). Defendant told Plaintiff they

were missionaries. They were to sleep on the couch bed in the TV room. Plaintiff was given

Benadryl to put her to sleep as her anxiety was high due to the overnight guests. The two men

entered her room and she awakened. They took turns raping Plaintiff one at a time while the other

watched. Defendant stood outside the door in the hallway. He whispered to the two men as they

exited Plaintiff’s room when they were finished. The next morning, the two men went with the

family to Sunday Morning Service at the House of Praise.

       43.      Defendant collected money as church or ministry “donations” for the sex acts he

allowed others to perform on Plaintiff. Plaintiff has obtained handwritten ledgers that Defendant

kept of those who donated to his ministries. Several names on the list are people who purchased

Plaintiff for commercial sex when she was between the ages of seven and 11.

               End of Direct Sexual Abuse, but Trafficking and Trauma Continue

       44.      When Plaintiff began menstruating in 1992, the direct sexual abuse by Defendant

stopped. However, the threats to remain silent did not stop. The sex trafficking ring continued with




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other victims. Sexually explicit videos of Plaintiff were still in circulation—the dissemination of

such materials “perpetuates the abuse initiated by the producer of the materials.” United States v.

Goff, 501 F.3d 250, 259 (3d Cir. 2007). The trauma did not end for Plaintiff and continues today.

         45.    During seventh grade, Plaintiff began physically hurting herself. She would beat

her head against the wall and the car windows and pick at her own skin. She would bite her flesh

until she bled. During the time she was homeschooled, she would eat things that were not food,

like paper, plastic, and rubber items. In about 1992 she was taken to see a psychiatrist in

Wilmington, Delaware for head banging, insomnia, and panic attacks.

         46.    In 1998, Plaintiff left home for college. At age 19, she saw a therapist because she

was suicidal and self-harming via cutting, burning, and suffocating herself by placing a plastic bag

over her head. At that time, she could not verbalize the abuse in any real way and did not fully

understand what had happened to her. Plaintiff remained vulnerable to suicidal ideation for 20

years.

         47.    All of these conditions were the result of the childhood trauma inflicted on Plaintiff

by Defendant.

         48.    Due to the actions of Defendant, Plaintiff has suffered extreme mental, physical,

psychological, and emotional trauma. She has spent an enormous amount of time and money

seeing doctors, psychiatrists, counselors, and other therapists. Plaintiff anticipates that she will be

dealing with the consequences of Defendant’s actions for the rest of her life.

                             Repression and Recovery of Memories

         49.    In order to cope and survive, Plaintiff repressed the memories of what Defendant

did to her. The trauma caused her to have dissociative amnesia. Plaintiffs’ professional therapists

have documented and verified this.

         50.    As numerous courts have recognized, “the shock and confusion resultant from child


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molestation, often coupled with authoritative adult demands and threats for secrecy, may lead a

child to deny or suppress such abuse from his or her consciousness.” Hearndon v. Graham, 767

So. 2d 1179, 1186 (Fla. 2000). See also R.L. v. Voytac, 971 A.2d 1074, 1082 (N.J. 2009)

(recognizing that child sexual abuse may cause psychological injury that the victim does not

connect to the abuse until years after it occurs); Keller v. Maccubbin, 2012 Del. Super. LEXIS

229, *6–12 (Super. Ct. May 16, 2012) (recognizing “traumatic amnesia” from child sexual abuse:

“As Delaware has come to realize, injury caused by child sexual abuse can, and does, extend far

beyond that which is associated with a ‘typical’ battery”).

        51.     Plaintiff’s memory of the abuse began to be restored in the 2013–2014 timeframe.

She began to have intense flashbacks. The first memories she started having were of her father’s

penis and the first time she was raped. In 2014, she started working with a therapist to understand

what she was beginning to remember.

        52.     Memories of the abuse detailed above began to come back slowly, over time, rather

than all at once, and they have not stopped coming back. The memory of the trafficking in Orlando,

Florida, for example, began to come back in 2018 during a phone conversation, and the other party

to the conversation is able to verify it.

        53.     Memories may be triggered by specific events or locations. For example, being in

a movie theatre triggered a memory of Defendant forcing Plaintiff to perform oral sex on him in a

movie theatre. Taking her daughter to get a puppy triggered the memory of Defendant killing

Plaintiff’s puppy in front of her as an act of intimidation. The triggering of memories of abuse are

extremely traumatic to Plaintiff.

        54.     Plaintiff’s causes of action are not barred by any applicable statute of limitations.

Each claim is brought within the specified time period after reasonable discovery of the claims




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and/or injuries. The doctrine of equitable tolling also applies under the circumstances described

above, including the extreme trauma inflicted on Plaintiff, the repression of memories and/or

dissociative amnesia, and the threats, lies, and fraud directed by Defendant toward Plaintiff.

                                            Summary

       55.     As described above, Defendant repeatedly, over the course of eight years, raped,

sodomized, and sexually abused Plaintiff, his young daughter. In addition to this direct, personal,

sexual abuse inflicted on Plaintiff, Defendant:

               a.      Sold Plaintiff to numerous other men, who also raped her for money or other
                       benefits;

               b.      Filmed sex acts that were forced on Plaintiff and sold the images and videos;

               c.      Allowed others to make similar videos and sell them;

               d.      Raped and sexually abused other children, including those mentioned
                       above;

               e.      Crossed state lines numerous times for the purpose of committing sex
                       crimes and child sex trafficking;

               f.      Operated a sex trafficking ring with numerous child victims, numerous
                       accomplices and perpetrators of sexual exploitation, numerous purchasers
                       of illegal sex with children, and explicit sexual materials; and

               g.      Physically and psychologically threatened Plaintiff to the point of mental
                       torture, lied, laundered money, and took other actions to hide his crimes and
                       silence Plaintiff forever.

       56.     Plaintiff brings this action to hold Defendant accountable for what he did. She

brings it to stop him from ever doing it again to other children. She brings it to help in her own

healing process, which will continue for the rest of her life. She brings it to obtain compensation

for the extreme harms done to her. She brings it to support other victims and survivors of child

sexual abuse and human trafficking—to help empower them, encourage them to come forward,

and let them know they have a voice. She brings it as a message to other exploiters and human



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traffickers: you will not get away with it; you will pay for your crimes.

                                             COUNT I

            HUMAN TRAFFICKING UNDER FEDERAL LAW—18 U.S.C. § 2255

                         (Predicate Violations of 18 U.S.C. §§ 1589–91,
                          2241(c), 2242–43, 2251–52A, 2260, 2421-23)

          57.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–56 as if fully set forth

herein.

          58.   18 U.S.C. § 2255(a), as amended in 2018 by the “Protecting Young Victims From

Sexual Abuse and Safe Sport Authorization Act,” states as follows: “Any person who, while a

minor, was a victim of a violation of section 1589, 1590, 1591, 2241(c), 2242, 2243, 2251, 2251A,

2252, 2252A, 2260, 2421, 2422, or 2423 of this title and who suffers personal injury as a result of

such violation, regardless of whether the injury occurred while such person was a minor, may sue

in any appropriate United States District Court and shall recover the actual damages such person

sustains or liquidated damages in the amount of $150,000, and the cost of the action, including

reasonable attorney’s fees and other litigation costs reasonably incurred. The court may also award

punitive damages and such other preliminary and equitable relief as the court determines to be

appropriate.”

          59.   While Plaintiff was a minor, she was a victim of violations of 18 U.S.C. §§ 1589,

1590, 1591, 2241(c), 2251, 2251A, 2252, 2252A, 2421, 2422, and 2423:

                a.     Defendant violated 18 U.S.C. § 1589(a) because he knowingly provided or

                       obtained the labor or services of Plaintiff by force, threats of force, physical

                       restraint, threats of physical restraint, threats of serious harm to Plaintiff or

                       others, abuse or threatened abuse of legal process, and by means of a

                       scheme, plan, or pattern intended to cause Plaintiff to believe that, if she did



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                 not perform such labor or services, Plaintiff or another person would suffer

                 serious harm or physical restraint. These violations are detailed above. The

                 labor that Plaintiff was forced to commit included pornographic sexual acts,

                 and activities on camera, for which Defendant received substantial sums of

                 money.

           b.    Defendant violated 18 U.S.C. § 1589(b) because he knowingly benefited,

                 financially or by receiving something of value, from participation in a

                 venture which engaged in the providing or obtaining of labor or services of

                 Plaintiff by force, threats of force, physical restraint, threats of physical

                 restraint, threats of serious harm to Plaintiff or others, abuse or threatened

                 abuse of legal process.

           c.    Defendant violated 18 U.S.C. § 1590 because he knowingly recruited,

                 harbored, transported, provided, and obtained Plaintiff for labor or services.

           d.    Defendant violated 18 U.S.C. § 1591(a)(1) because he knowingly used

                 interstate commerce to recruit, entice, harbor, transport, provide, obtain,

                 advertise, maintain, patronize, and solicit Plaintiff to engage in commercial

                 sex acts while under the age of 18.

           e.    Defendant violated 18 U.S.C. § 1591(a)(2) because he knowingly benefited,

                 financially or by receiving something of value, from participation in a

                 venture that used interstate commerce to recruit, entice, harbor, transport,

                 provide, obtain, advertise, maintain, patronize, and solicit Plaintiff to

                 engage in commercial sex acts while under the age of 18.

           f.    Defendant violated 18 U.S.C. § 2241(c) because he crossed a State line with




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                 intent to engage in a sexual act with a person who had not attained the age

                 of 12 years (Plaintiff), and did engage in such sexual acts.

           g.    Defendant violated 18 U.S.C. § 2251(a) because he employed, used,

                 persuaded, induced, enticed, and coerced Plaintiff, while a minor, to engage

                 in sexually explicit conduct for the purpose of producing visual depictions

                 of such conduct. Defendant knew or had reason to know that such visual

                 depictions would be transported or transmitted using the means or facilities

                 of interstate commerce, including the mail.

           h.    Defendant violated 18 U.S.C. § 2251(b) because, as a parent, he knowingly

                 permitted his minor child to be involved in sexually explicit conduct for the

                 purpose of producing visual depictions of such conduct.

           i.    Defendant violated 18 U.S.C. § 2251A(a)(1) because, as a parent having

                 custody or control of a minor, he sold or otherwise transferred custody or

                 control of Plaintiff, or offered to sell or otherwise transfer custody of

                 Plaintiff with knowledge that, as a consequence of the sale or transfer,

                 Plaintiff would be portrayed in a visual depiction engaging in, or assisting

                 another person to engage in, sexually explicit conduct.

           j.    Defendant violated 18 U.S.C. § 2251A(a)(2) because, as a parent having

                 custody or control of a minor, he sold or otherwise transferred custody or

                 control of Plaintiff, or offered to sell or otherwise transfer custody of

                 Plaintiff with intent to promote the engaging in of sexually explicit conduct

                 by such minor for the purpose of producing visual depictions of such

                 conduct.




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           k.    Defendant violated 18 U.S.C. § 2252 because he knowingly transported and

                 shipped, using means of or affecting interstate commerce, visual depictions

                 of a minor engaging in explicit sexual conduct. Further, he received and

                 distributed such materials in a manner using or affecting interstate

                 commerce.

           l.    Defendant violated 18 U.S.C. § 2252A because he knowingly transported

                 and shipped child pornography using means of or affecting interstate

                 commerce. Further, he reproduced, promoted, presented, received and

                 distributed, in a manner using or affecting interstate commerce, visual

                 depictions of actual minors engaging in sexually explicit conduct.

           m.    Defendant violated 18 U.S.C. § 2421 because he knowingly transported

                 Plaintiff in interstate or foreign commerce with the intent that Plaintiff

                 engage in sexual activities for which any person can be charged with a

                 criminal offense [specifically, adults having sex with children can be

                 charged with criminal offenses].

           n.    Defendant violated 18 U.S.C. § 2422 because, using the mail or other means

                 of interstate commerce, he knowingly persuaded, induced, enticed, or

                 coerced Plaintiff, who had not attained the age of 18 years, to engage in

                 sexual activities for which any person can be charged with a criminal

                 offense [specifically, adults having sex with children can be charged with

                 criminal offenses].

           o.    Defendant violated 18 U.S.C. § 2423 because he knowingly transported an

                 individual who had not attained the age of 18 years (Plaintiff) in interstate




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                       commerce with the intent that Plaintiff engage in sexual activities for which

                       any person can be charged with a criminal offense [specifically, adults

                       having sex with children can be charged with criminal offenses]. Further,

                       Defendant traveled in interstate commerce with a motivating purpose of

                       engaging in illicit sexual conduct with another person (Plaintiff).

          60.   A violation of any one of these statutes would be sufficient to confer liability on

Defendant under 18 U.S.C. § 2255. Defendant violated all of them.

          61.   Plaintiff suffered personal injuries as a result of the violations of the

aforementioned statutes. The injuries include physical as well as emotional, psychological, and

traumatic injuries. The injuries are still occurring and will continue to occur in the future.

          62.   In addition to statutory liquidated damages in the amount of $150,000, Plaintiff

seeks actual damages and the cost of the action, including reasonable attorney’s fees and other

litigation costs reasonably incurred. Plaintiff seeks punitive damages and such other preliminary

and equitable relief as the court determines to be appropriate, as expressly authorized by 18 U.S.C.

§ 2255(a).

          63.   This action is brought within 10 years of the time that Plaintiff reasonably

discovered the violations that form the basis of the claim and/or the injury that forms the basis of

the claim.

                                             COUNT II

                SEXUAL ABUSE OF A MINOR BY AN ADULT—DELAWARE

          (Rape, Incest, Human Trafficking, Sexual Abuse of a Child By A Person in a
          Position of Trust, Sexual Extortion, Continuous Abuse of a Child, Dangerous
           Crime Against A Child Under 14, Offensive Touching, Indecent Exposure)

          64.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–63 as if fully set forth

herein.


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        65.    The acts of Defendant described above constitute sexual abuse of a minor by an

adult under Delaware law, and particularly under 10 Del. C. § 8145. Under § 8145, a civil action

may be pursued based upon the sexual abuse of a minor by an adult. Further, “[a] civil cause of

action for sexual abuse of a minor shall be based upon sexual acts that would constitute a criminal

offense under the Delaware Code.” Such a civil action may be filed in Superior Court, and federal

courts also have jurisdiction over such claims. Quill v. Catholic Diocese of Wilmington, Inc., 2008

WL 193000, at *2 (D. Del. Jan. 23, 2008).

        66.    The acts of Defendant described above constitute sexual acts that would constitute

a criminal offense under the Delaware Code. Defendant’s actions violated the following criminal

laws:

               a.     Defendant committed the criminal offense of Rape under 11 Del. C. §§ 770-

                      773. Defendant intentionally engaged in sexual intercourse with another

                      person, Plaintiff, who was under the age of 12. Defendant was also in a

                      principal-accomplice relationship with others who raped Plaintiff, and is

                      thereby guilty of those acts of rape.

               b.     Defendant committed the criminal offense of Incest under 11 Del. C. § 766.

                      Defendant engaged in sexual intercourse with Plaintiff, his daughter.

               c.     Defendant committed the crime of Human Trafficking under 11 Del. C. §

                      787. Defendant knowingly recruited, transported, harbored, received,

                      provided, obtained, isolated, maintained, advertised, solicited, and enticed

                      an individual (Plaintiff) in furtherance of forced labor in violation of

                      paragraph (b)(2) of § 787. Defendant knowingly recruited, transported,

                      harbored, received, provided, obtained, isolated, maintained, advertised,




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                 solicited, and enticed an individual (Plaintiff) in furtherance of sexual

                 servitude in violation of paragraph (b)(3) of § 787. Defendant knowingly

                 used coercion to compel Plaintiff to provide labor or services, including

                 pornography. Defendant knowingly maintained and made available a minor

                 (Plaintiff) for the purpose of engaging the minor in commercial sexual

                 activity. Defendant’s actions created aggravating circumstances under §

                 787 because he used or threatened use of force against, abduction of, serious

                 harm to, or physical restraint of the victim (Plaintiff).

           d.    Defendant committed the criminal offense of Sexual Abuse of a Child by a

                 Person in a Position of Trust, Authority or Supervision under 11 Del. C. §

                 778. Defendant stood in a position of trust, authority or supervision

                 over Plaintiff, a child under the age of 16, when the acts described above

                 were committed. Defendant intentionally engaged in sexual intercourse,

                 sexual penetration, sexual extortion, and sexual abuse. Upon information

                 and belief, Defendant committed these acts against multiple children.

           e.    Defendant committed the criminal offense of Sexual Extortion under 11

                 Del. C. § 774. Defendant intentionally compelled or induced another person

                 (Plaintiff) to engage in any sexual act involving contact, penetration or

                 intercourse with Defendant or another or others by means of instilling in the

                 victim (Plaintiff) a fear that, if such sexual act is not performed, the

                 defendant or another would cause physical injury to someone.

           f.    Defendant committed the criminal offense of Continuous Abuse of a Child

                 under 11 Del. C. § 776. Defendant, while residing in the same home with




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                     Plaintiff, a minor child, intentionally engaged in three or more acts of sexual

                     conduct with a child under the age of 18 years of age over a period of time,

                     not less than 3 months in duration.

              g.     Defendant committed the criminal offense of Dangerous Crime Against a

                     Child Under 14 under 11 Del. C. § 777. Under § 777, a “dangerous crime

                     against a child” means “any criminal sexual conduct against a minor under

                     the age of 14 years.” Defendant repeatedly committed criminal sexual

                     conduct against Plaintiff while she was under the age of 14.

              h.     Defendant committed the criminal offense of Indecent Exposure under 11

                     Del. C. § 765. Under § 765, “[a] male is guilty of indecent exposure in the

                     second degree if he exposes his genitals or buttocks under circumstances in

                     which he knows his conduct is likely to cause affront or alarm to another

                     person.” Defendant, a male, exposed himself to Plaintiff under

                     circumstances in which he knew would cause affront or alarm to Plaintiff.

              i.     Defendant committed the criminal offense of Offensive Touching under 11

                     Del. C. § 601. Defendant intentionally touched another person (Plaintiff)

                     either with a member of his body or with any instrument, knowing that

                     Defendant was thereby likely to cause offense or alarm to Plaintiff. Further,

                     Defendant struck Plaintiff with a bodily fluid, knowing that he was thereby

                     likely to cause offense or alarm to Plaintiff.

       67.    A violation of any one of these statutes would be sufficient to confer liability on

Defendant under 10 Del. C. § 8145. Defendant violated all of them.

       68.    Plaintiff was injured by Defendant’s actions, as described above.




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          69.   There is no limitations period for sexual abuse of a minor by an adult in Delaware

under 10 Del. C. § 8145.

          70.   Should a statute of limitations other than § 8145 be applied, Plaintiff avers that the

“discovery rule” applies, and she did not reasonably discover her claims or injuries until recently.

Plaintiff avers that the statute of limitations was tolled, or equitably tolled, because of the extreme

trauma inflicted by Defendant, his threats and lies, and the repression of memories and/or

dissociative amnesia suffered by Plaintiff.

                                              COUNT III

                           ASSAULT AND BATTERY—DELAWARE

          71.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–70 as if fully set forth

herein.

          72.   Defendant committed assault upon Plaintiff by taking actions intended to create a

reasonable apprehension of imminent harm. The actions by Defendant were harmful and offensive.

The actions by Defendant created in Plaintiff a reasonable apprehension of imminent harm.

          73.   Defendant committed battery upon Plaintiff by taking actions with an intent to

cause harmful or offensive contact. The actions by Defendant did result in harmful or offensive

contact to Plaintiff.

          74.   Plaintiff did not actually, or legally, consent to the actions taken by Defendant.

          75.   Plaintiff has been injured by Defendant’s actions, as described above.

          76.   This cause of action falls within the Delaware rule that there is no limitations period

for sexual abuse of a minor by an adult in Delaware.

          77.   Should a statute of limitations other than § 8145 be applied, Plaintiff avers that the

“discovery rule” applies, and she did not reasonably discover her claims or injuries until recently.




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Plaintiff avers that the statute of limitations was tolled, or equitably tolled, because of the extreme

trauma inflicted by Defendant, his threats and lies, and the repression of memories and/or

dissociative amnesia suffered by Plaintiff.

                                              COUNT IV

       INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS—DELAWARE

          78.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–77 as if fully set forth

herein.

          79.   Under Delaware law, a person who by extreme and outrageous conduct

intentionally or recklessly causes severe emotional distress to another is subject to liability for such

emotional distress and for any associated bodily harm.

          80.   Defendant committed the tort of intentional infliction of emotional distress. The

actions described above were intentional or reckless. The actions of Defendant were extreme and

outrageous in that they exceeded the bounds of decency and are regarded as intolerable in a

civilized community. Defendant intended to cause, or recklessly caused, severe emotional distress

to Plaintiff.

          81.   Plaintiff was, in fact, severely distressed emotionally by the conduct of Defendant.

She remains distressed today, and will be emotionally distressed in the future due to Defendant’s

actions. She also suffered bodily harm, as described above.

          82.   This cause of action falls within the Delaware rule that there is no limitations period

for sexual abuse of a minor by an adult in Delaware.

          83.   Should a statute of limitations other than § 8145 be applied, Plaintiff avers that the

“discovery rule” applies, and she did not reasonably discover her claims or injuries until recently.

Plaintiff avers that the statute of limitations was tolled, or equitably tolled, because of the extreme

trauma inflicted by Defendant, his threats and lies, and the repression of memories and/or


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dissociative amnesia suffered by Plaintiff.

                                              COUNT V

           NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS—DELAWARE

          84.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–83 as if fully set forth

herein.

          85.   Under Delaware law, the elements of a claim of negligent infliction of emotional

distress are similar to the elements of a claim of intentional or reckless infliction, except that the

Defendant’s actions are negligent rather than intentional or reckless. Further, a claim for negligent

infliction requires some physical manifestation of the emotional harm caused. The requisite

elements are present here.

          86.   Defendant committed the tort of negligent infliction of emotional distress. The

actions described above were negligent, if not intentional or reckless. The actions of Defendant

were extreme and outrageous in that they exceeded the bounds of decency and are regarded as

intolerable in a civilized community. Defendant negligently caused severe emotional distress to

Plaintiff.

          87.   Plaintiff was, in fact, severely distressed emotionally by the conduct of Defendant.

She remains distressed today, and will be emotionally distressed in the future due to Defendant’s

actions.

          88.   Plaintiff has experienced physical manifestations of the emotional harm caused by

Defendant, as described above. Plaintiff has suffered at various times, and continues to suffer, such

physical consequences as insomnia, picking at her skin, cutting and burning, hitting her head

against walls and windows, inability to work, a suicide attempt, and numerous types of pain.

          89.   This cause of action falls within the Delaware rule that there is no limitations period

for sexual abuse of a minor by an adult in Delaware.


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          90.   Should a statute of limitations other than § 8145 be applied, Plaintiff avers that the

“discovery rule” applies, and she did not reasonably discover her claims or injuries until recently.

Plaintiff avers that the statute of limitations was tolled, or equitably tolled, because of the extreme

trauma inflicted by Defendant, his threats and lies, and the repression of memories and/or

dissociative amnesia suffered by Plaintiff.

                                              COUNT VI

                            FALSE IMPRISONMENT—DELAWARE

          91.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–90 as if fully set forth

herein.

          92.   Under Delaware law, the elements of a claim for false imprisonment are (a) a

restraint, which is (b) unlawful and (c) against one’s will. The restraint may be accomplished by

physical force, by threats of force or intimidation, or by assertion of legal authority. False

imprisonment is generally defined as the deprivation of the liberty of another without her consent

and without legal justification.

          93.   Defendant restrained Plaintiff physically and by threats of force and intimidation.

Defendant, an adult male, was able to force Plaintiff, a young child, to go wherever he wanted. He

was able to physically hold her down while raping her. He physically restricted her movements.

He restricted her movements by threatening her with harm if she did not submit to his will.

          94.   The restraints imposed by Defendant on Plaintiff were unlawful. There can be

nothing more unlawful than for a father to rape his young daughter, sell her to be raped by others,

and sell videos of her being raped.

          95.   The restraints were imposed on Plaintiff by Defendant against her will. No child

wishes to be, or can legally consent to being, raped repeatedly for years by her father and numerous

men, including strangers.


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          96.    Plaintiff’s liberty was taken away from her. This is the essence of slavery. She was

enslaved by Defendant.

          97.    Plaintiff has been injured by Defendant’s actions and threats, as described above.

          98.    This cause of action falls within the Delaware rule that there is no limitations period

for sexual abuse of a minor by an adult in Delaware.

          99.    Should a statute of limitations other than § 8145 be applied, Plaintiff avers that the

“discovery rule” applies, and she did not reasonably discover her claims or injuries until recently.

Plaintiff avers that the statute of limitations was tolled, or equitably tolled, because of the extreme

trauma inflicted by Defendant, his threats and lies, and the repression of memories and/or

dissociative amnesia suffered by Plaintiff.

                                              COUNT VII

                            HUMAN TRAFFICKING—DELAWARE

          100.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–99 as if fully set forth

herein.

          101.   Defendant committed the tort of human trafficking under 11 Del. C. § 787.

Defendant trafficked Plaintiff. He is a human trafficker.

          102.   Defendant knowingly recruited, transported, harbored, received, provided,

obtained, isolated, maintained, advertised, solicited, and enticed an individual (Plaintiff) in

furtherance of forced labor in violation of paragraph (b)(2) of § 787.

          103.   Defendant knowingly recruited, transported, harbored, received, provided,

obtained, isolated, maintained, advertised, solicited, and enticed an individual (Plaintiff) in

furtherance of sexual servitude in violation of paragraph (b)(3) of § 787.

          104.   Defendant knowingly used coercion to compel Plaintiff to provide labor or services,

including pornography.


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          105.   Defendant knowingly maintained and made available a minor (Plaintiff) for the

purpose of engaging the minor in commercial sexual activity.

          106.   Defendant’s actions created aggravating circumstances under § 787 because he

used or threatened use of force against, abduction of, serious harm to, or physical restraint of the

victim (Plaintiff).

          107.   A Plaintiff injured by a violation of § 787 may bring a civil action.

          108.   Under § 787(d) and (i), Plaintiff is entitled to restitution, compensatory damages,

punitive damages, injunctive relief, and any other appropriate relief. Plaintiff is entitled to

reasonable attorneys’ fees and costs, including reasonable fees for expert witnesses.

          109.   Section 787(i)(3) states that a civil action under § 787 must be brought within 5

years after the victim is “freed from the human trafficking situation.” Plaintiff avers that she did

not become truly free from the trafficking situation more than five years ago. She still suffers from

the effects of it, still feels afraid due to threats, intimidation and stalking, and is not truly free. In

addition, Plaintiff avers that the “discovery rule” should be applied to actions under § 787, and she

did not reasonably discover her claims or injuries more than five years ago. Plaintiff avers that the

statute of limitations was tolled, or equitably tolled, because of the extreme trauma inflicted by

Defendant, his threats and lies, and the repression of memories and/or dissociative amnesia

suffered by Plaintiff. Finally, 10 Del. C. § 8145 applies to human trafficking that involves the

sexual abuse of a minor by an adult, and there is, therefore, no limitations period for this claim.

                                             COUNT VIII

                        SEXUAL BATTERY OF A MINOR—FLORIDA

          110.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–109 as if fully set forth

herein.

          111.   Under FLA. STAT. § 794.011, a Defendant “sexual battery” means “oral, anal, or


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vaginal penetration by, or union with, the sexual organ of another or the anal or vaginal penetration

of another by any other object.” Defendant committed sexual battery on Plaintiff and sold her to

be sexually battered by others.

        112.    A person 18 years of age or older who commits sexual battery upon, or in an attempt

to commit sexual battery injures the sexual organs of, a person less than 12 years of age commits

a capital felony. Defendant repeatedly committed capital felonies upon Plaintiff.

        113.    Plaintiff was physically helpless to resist. On at least one occasion, she was

shackled. Defendant coerced Plaintiff to submit by threatening to use force or violence likely to

cause serious personal injury on Plaintiff, and Plaintiff reasonably believed that Defendant had the

present ability to execute the threats. Defendant coerced Plaintiff to submit by threatening to

retaliate against her, or another person, and Plaintiff reasonably believed that Defendant had the

ability to execute the threats in the future.

        114.    Defendant was in a position of familial or custodial authority to a person less than

18 years of age (Plaintiff) and solicited Plaintiff to engage in an act that constituted sexual battery.

Defendant violated § 794.011(8) and committed sexual battery against Plaintiff. Consent is not a

defense under this section, nor did it actually or legally exist.

        115.    Defendant committed battery upon Plaintiff by taking actions with an intent to

cause harmful or offensive contact. The actions by Defendant did result in harmful or offensive

contact to Plaintiff.

        116.    Under FLA. STAT. § 95.11(9), “An action related to an act constituting a violation

of § 794.011 involving a victim who was under the age of 16 at the time of the act may be

commenced at any time.”

        117.    Plaintiff was injured by the sexual battery committed by Defendant.




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          118.   This cause of action applies to any and all actions of Defendant that took place

wholly or partially in Florida, or had consequences in that State.

                                             COUNT IX

                              HUMAN TRAFFICKING—FLORIDA

          119.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–118 as if fully set forth

herein.

          120.   Defendant committed the crime and tort of human trafficking under FLA. STAT. §

787.06. Defendant trafficked Plaintiff. He is a human trafficker.

          121.   Defendant knowingly transported, solicited, recruited, harbored, provided, enticed,

maintained, and obtained another person (Plaintiff) for the purpose of exploitation of that person

in violation of paragraph (2)(d) of § 787.06.

          122.   Defendant knowingly, or in reckless disregard of the facts, engaged in human

trafficking, attempted to engage in human trafficking, and benefited financially by receiving

something of value from participation in a venture that has subjected a person (Plaintiff) to human

trafficking under paragraph (3) of § 787.06. This is a felony in Florida and also subjects Defendant

to civil liability.

          123.   Defendant transferred or transported a child under the age of 18 (Plaintiff) from

outside Florida to within Florida for commercial sexual activity under paragraph (3)(f)(1) of §

787.06.

          124.   Under paragraph (4)(a) of § 787.06, “Any parent, legal guardian, or other person

having custody or control of a minor who sells or otherwise transfers custody or control of such

minor, or offers to sell or otherwise transfer custody of such minor, with knowledge or in reckless

disregard of the fact that, as a consequence of the sale or transfer, the minor will be subject to




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human trafficking commits a life felony.” Defendant committed a life felony under this statute,

and is subject to civil liability.

        125.    Human trafficking under § 787.06, as committed by Defendant, is expressly within

the definition of “sexual abuse of a child” in FLA. STAT. § 39.01(77).

        126.    Human trafficking and sexual abuse of a child give rise to civil liability:

                a.       Sexual abuse of a child under § 39.01(77), which includes human trafficking
                         of a child, expressly falls within the definition of “intentional torts” in FLA.
                         STAT. § 95.11(7), for which a civil cause of action exists.
                b.       FLA. STAT. § 772.104 creates a civil action for violators of § 772.103 “due
                         to sex trafficking or human trafficking.” Because Defendant committed
                         human trafficking and sex trafficking, he violated § 772.103, and is subject
                         to civil liability under § 772.104.

        127.    Plaintiff was injured by being trafficked by Defendant.

        128.    Defendant profited from trafficking Plaintiff.

        129.    The applicable statute of limitations is paragraph (9) of FLA. STAT. 95.11. As noted

in ¶ 116 above, this action is not barred under § 95.11(9). Nor is it barred under § 95.11(7). That

provision states that a civil action for abuse may be brought “within 4 years from the time of

discovery by the injured party of both the injury and the causal relationship between the injury and

the abuse, whichever occurs later.” Florida recognizes that repressed memories or dissociative

amnesia stop the statute of limitations from running, or beginning to run. Plaintiff discovered in

2018—by way of recovered memories—the trafficking inflicted on her in Florida (additional

memories of the Florida events are still being restored in 2019). This is less than four years before

the commencement of this suit. Plaintiff further avers that the statute of limitations was tolled, or

equitably tolled, because of the extreme trauma inflicted by Defendant, his threats and lies, and

the repression of memories and/or dissociative amnesia suffered by Plaintiff.

        130.    This cause of action applies to any and all actions of Defendant that took place




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wholly or partially in Florida, or had consequences in that State.

                                              COUNT X

                                        INCEST—FLORIDA

          131.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–130 as if fully set forth

herein.

          132.   Under FLA. STAT. § 826.04, one who knowingly has sexual intercourse with a

person to whom he is related by lineal consanguinity commits incest, a felony. Defendant is related

to Plaintiff by lineal consanguinity because he is her father. Defendant knowingly had sexual

intercourse with Plaintiff. Defendant violated § 826.04, committed a felony, and is subject to civil

liability.

          133.   Incest gives rise to civil liability. Incest under § 826.04 expressly falls within the

definition of “intentional torts” in FLA. STAT. § 95.11(7), for which a civil cause of action exists.

          134.   Plaintiff was injured by the incest committed upon her by Defendant.

          135.   The applicable statute of limitations is either paragraph (7) or paragraph (9) of FLA.

STAT. 95.11. As noted in ¶ 116 and ¶ 129 above, this action is not barred under either paragraph

of § 95.11.

          136.   This cause of action applies to any and all actions of Defendant that took place

wholly or partially in Florida, or had consequences in that State.

                                             COUNT XI

          INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS—FLORIDA

          137.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–136 as if fully set forth

herein.

          138.   Under Florida law, the elements of an action for intentional infliction of emotional

distress are: (1) deliberate or reckless infliction of mental suffering; (2) outrageous conduct; (3)


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the conduct caused the emotional distress; and (4) the distress was severe.

          139.   Defendant committed the tort of intentional infliction of emotional distress. The

actions described above were deliberate or reckless. The actions of Defendant were outrageous in

that they exceeded the bounds of decency and are regarded as intolerable in a civilized community.

          140.   Plaintiff suffered severe emotional distress caused by the conduct of Defendant.

She remains distressed today, and will be emotionally distressed in the future due to Defendant’s

actions.

          141.   Plaintiff has been injured by Defendant’s actions and threats, as described above.

          142.   The applicable statute of limitations is paragraph (9), paragraph (7), or paragraph

(3)(o) of FLA. STAT. § 95.11. As noted in ¶ 116 above, this action is not barred under § 95.11(9),

and as noted in ¶ 129 above, it is not barred under § 95.11(7). If § 95.11(3)(o) applies, Florida

recognizes that repressed memories or dissociative amnesia stop the statute of limitations from

running, or beginning to run. Plaintiff did not discover—by way of recovered memories—the

trafficking inflicted on her in Florida until 2018, i.e., less than four years before the commencement

of this suit. Plaintiff further avers that the statute of limitations was tolled, or equitably tolled,

because of the extreme trauma inflicted by Defendant, his threats and lies, and the repression of

memories and/or dissociative amnesia suffered by Plaintiff.

          143.   This cause of action applies to any and all actions of Defendant that took place

wholly or partially in Florida, or had consequences in that State.

                                             COUNT XII

                             FALSE IMPRISONMENT—FLORIDA

          144.   Plaintiff incorporates and realleges the allegations of ¶¶ 1–143 as if fully set forth

herein.

          145.   Under FLA. STAT. § 787.02, false imprisonment is committed when a person


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forcibly, by threat, or secretly confines, abducts, imprisons, or restrains another person without

lawful authority against her or his will. This is a third degree felony. However, it becomes a first

degree felony when it is committed along with child abuse, human trafficking, sexual battery, or

child exploitation. Defendant committed a first degree felony and is also subject to civil liability

for falsely imprisoning Plaintiff.

       146.    Defendant restrained Plaintiff physically in shackles and by threats of force and

intimidation. Defendant, an adult male, was able to force Plaintiff, a young child, to go wherever

he wanted. He was able to physically hold her down while raping her. He physically restricted her

movements. He restricted her movements by threatening her with harm if she did not submit to his

will. He shackled her in a warehouse and allowed other men to rape her.

       147.    The restraints imposed by Defendant on Plaintiff were unlawful. There can be

nothing more unlawful than for a father to rape his young daughter, shackle and sell her to be raped

by others, and to sell videos of her being raped.

       148.    The restraints were imposed on Plaintiff by Defendant against her will. No child

wishes to be, or can legally consent to being, raped repeatedly for years by her father and numerous

men, including strangers.

       149.    Plaintiff’s liberty was taken away from her. This is the essence of slavery. She was

enslaved by Defendant.

       150.    Plaintiff has been injured by Defendant’s actions and threats, as described above.

       151.    The applicable statute of limitations is paragraph (9), paragraph (7), or paragraph

(3)(o) of FLA. STAT. § 95.11. As noted in ¶ 116 above, this action is not barred under § 95.11(9),

and as noted in ¶ 129 above, it is not barred under § 95.11(7). If § 95.11(3)(o) applies, Florida

recognizes that repressed memories or dissociative amnesia stop the statute of limitations from




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running, or beginning to run. Plaintiff did not discover—by way of recovered memories—the

trafficking inflicted on her in Florida until 2018, less than four years before the commencement of

this suit. Plaintiff further avers that the statute of limitations was tolled, or equitably tolled, because

of the extreme trauma inflicted by Defendant, his threats and lies, and the repression of memories

and/or dissociative amnesia suffered by Plaintiff.

        152.    This cause of action applies to any and all actions of Defendant that took place

wholly or partially in Florida, or had consequences in that State.

               NOTICE REGARDING CLAIMS UNDER NEW JERSEY LAW

        On May 13, 2019, New Jersey enacted a law (Senate Bill 477, or “S477”) amending N.J.S.

2A:14-2 to extend the limitations period for victims of child sexual abuse. The effective date is

December 1, 2019. Plaintiff has claims under New Jersey law, specifically N.J.S.A. § 2A:61B-1

(Child Sexual Abuse Act) and N.J.S.A. §§ 2C:13-8 and 2C:13-8.1 (Human Trafficking). Plaintiff

intends to seek amendment of this Complaint to add New Jersey claims on or about December 1,

2019.

                                   DEMAND FOR JURY TRIAL

        Plaintiff hereby demands a jury trial on all issues which can be heard by a jury.

                          CONCLUSION AND PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully requests that the Court:

        A.      Enter judgment in Plaintiff’s favor, and against Defendant, on all counts;

        B.      Award Plaintiff $150,000 in statutory damages;

        C.      Award Plaintiff her actual compensatory damages, including damages for pain and

                suffering, severe emotional distress, lost income, lost value of labor expended, and

                costs incurred (including medical, psychological, and counseling fees) due to the

                actions of Defendant as described herein;


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     D.      Award Plaintiff treble damages;

     E.      Award Plaintiff punitive damages;

     F.      Award Plaintiff restitution;

     G.      Require the disgorgement of profits by Defendant;

     H.      Award to Plaintiff her reasonable attorneys’ fees, costs, and other fees, including

             expert fees as permitted by relevant statutes;

     I.      Enter a temporary and permanent injunction and/or restraining order against

             Defendant, prohibiting him from contacting her in any way, including through

             intermediaries other than Plaintiff’s counsel, and from touching or speaking to her

             or threatening her, and from coming within 100 feet of her;

     J.      Enter a temporary and permanent injunction and/or restraining order against

             Defendant, prohibiting him from having any role with any organization that serves

             children, including orphanages, churches, and children’s ministries; and

     K.      Grant Plaintiff all other and further relief to which she may be entitled.



 Dated: June 27, 2019                               K&L GATES LLP

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